Case 2:23-cv-01218-JES-KCD           Document 418       Filed 06/24/25      Page 1 of 1 PageID
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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

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                                                    )
                                                    )
 DANESH NOSHIRVAN,                                  )   Case No. 2:23-cv-01218-JES-KCD
                                                    )
                               Plaintiff,           )
                                                    )
   v.                                               )
                                                    )
 JENNIFER COUTURE, et al.,                          )
                                                    )
                               Defendants.          )
                                                    )
                                                    )
                                                    )


                                   MEDIATION REPORT


        Pursuant to Local Rule 16.2(f), the undersigned makes the following report.


        1. The undersigned began the mediation on May 28, 2024, and completed the

           mediation on June 24, 2025.


        2. All required parties were present.


        3. The parties engaged in good faith discussions.


        4. The parties were unable to reach a resolution and I declared an impasse.

                                                            Respectfully Submitted,


                                                            _/s/ John M. Barkett_________
                                                            John M. Barkett
                                                            Mediator
                                                            June 24, 2025


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